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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
MICHAEL CHAD BLACK, on behalf of himself
and others similarly situated,

-vs-                                                        Case No.:     1:24-cv-1323


IDEAL CONCEPTS, INC.




                         MOTION FOR ADMISSION PRO HAC VICE


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                                 Mark S. Eisen
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PRYHVWKLV&RXUWWRJUDQWDGPLVVLRQWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI

                                        Ideal Concepts, Inc.
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                        Benesch Friedlander Coplan & Aronoff LLP
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       ZLWKRIILFHVDW

               0DLOLQJDGGUHVV         71 South Wacker Drive, Suite 1600
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               &LW\6WDWH=LS&RGH          Chicago, IL, 60606
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               7HOHSKRQH               (312) 212-4956
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               )DFVLPLOH                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        (312) 767-9192

               Email:             meisen@beneschlaw.com
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     Case 1:24-cv-01323-ADA          Document 16       Filed 03/10/25       Page 2 of 6




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     6LQFHBBBBBBBBBBBBBBBBBBBBBBB$SSOLFDQWKDVEHHQDQGSUHVHQWO\LVDPHPEHURIDQGLQ

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     &RXUW                                              $GPLVVLRQGDWH

     California
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     North Carolina
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     See attached list.
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      ✔      $SSOLFDQWKDVFRFRXQVHOLQWKLVFDVHZKRLVDGPLWWHGWRSUDFWLFHEHIRUHWKH8QLWHG

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             0DLOLQJDGGUHVV         127 Public Square, Suite 4900
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             &LW\6WDWH=LS&RGH           Cleveland, OH, 44114
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             7HOHSKRQH               (216) 363-6214
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      WRClerk, U.S. District Court@

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        Case 1:24-cv-01323-ADA         Document 16        Filed 03/10/25     Page 4 of 6




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              Mark S. Eisen
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             March                    2025


                                                               Mark S. Eisen
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       Case 1:24-cv-01323-ADA          Document 16        Filed 03/10/25   Page 5 of 6




List of Additional Admissions:


 U.S. Court of Appeals Eleventh Circuit                                12/19/2018
 U.S. Court of Appeals Ninth Circuit                                    2/28/2014
 U.S. District Court Central District of California                      1/2/2014
 U.S. District Court Eastern District of California                     1/21/2014
 U.S. Distict Court; District of Colorado                               2/28/2025
 U.S. District Court Eastern District of Michigan                       2/21/2014
 U.S. District Court Eastern District of Missouri                        4/9/2024
 U.S. District Court Eastern District of North Carolina                  2/1/2023
 U.S. District Court Middle District of North Carolina                  3/14/2024
 U.S. District Court Northern District of California                     1/1/2014
 U.S. District Court Northern District of Illinois                       1/3/2014
 U.S. District Court Southern District of California                    1/21/2014
 U.S. District Court Southern District of Illinois                       1/5/2024
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
MICHAEL CHAD BLACK, on behalf of himself
and others similarly situated,
-vs-                                                           Case No. 1:24-cv-1323


IDEAL CONCEPTS, INC.


                                             ORDER


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       Mark S. Eisen
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                                               UNITED STATES DISTRICT JUDGE
